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                    https://rocalabs.com/faq/general/no-diet-restrictions
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                    https://rocalabs.com/gastric-bypass-no-surgery
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                    https://rocalabs.com/faq/general/roca-labs-success-rate
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         http://mini-gastric-bypass.me/answers/maximizing-success/90-success-rate
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                                                                          PX1-122
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                   A dose of the Formula mixed in water and taken in the morning
                        creates a fast mini mini gastric bypass effect... read more




    Ask the Doctor
        Basic Questions
                                      90% Success Rate
        Medical Information           Roca Labs™ Natural Formula forces you to eat
        Research                      HALF
         Overcoming
                                      The formula has been used in Europe for 6 years, and is
   Psychological Obstacles
                                      scientifically proven to have a 90% success rate. It will
         Instructions
                                      always achieve a mini gastric bypass effect by PHYSICALLY
         Overweight:
                                      occupying your stomach, leaving only a small limited
   Understanding and
                                      stomach volume available for 10-16 hours. Then, with a
   overcoming              90%
                                      smaller stomach size you will eat HALF, and can spare your
   success rate
                                      body as much as 2,000 unnecessary calories a day without
         Stomach Fat: How
                                      feeling any urge for food – that equals 15 lbs per month!
   do I lose it?
         Comparison                   Reaching your weight loss goal is only a matter of carefully
        Qualify & Order               following all instructions, and adjusting the dosage and
                                      frequency for your individual needs. The formula is
                                      customizable: when you decide how much to take and
                                      when, you control how much of your stomach is available
                                      for food intake at any time. The power to succeed is in
                                      YOUR hands!




                                                                                            PX1-123
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                                       • Want it even STRONGER? Simply add more formula to
                                         your morning dose. You choose whether to take a light,
                                         regular, strong, ordouble dose.
                                       • Want it to last LONGER? Simply take a reinforcement
                                         dose in the afternoon or evening. Doing this regularly will
                                         increase your success rate by 60%.


                                   Want to accelerate your weight loss?




                                   accelerate your metabolism and calorie deficiency, and lead
                                   to amuch greater weight loss.

                                   Obstacles to success
                                   Note that 28% of users do not immediately succeed due to
                                   improper use. But after reviewing and following all
                                   instructions, about 60% of those are able to succeed as
                                   well. The other 40% (comprising 10% of all users) are held
                                   back by psychological obstacles, which can make the
                                   formula less effective. For example, someone with binge
                                   eating disorder regularly eats well past the point of fullness
                                   in order to cope with sadness, anger, or stress, and will
                                   continue to do this even with the formula. Roca Labs™
                                   Natural Formula works on a physical level to block the
                                   stomach and eliminate sugar cravings, but psychological
                                   issues must be addressed separately. However, such
                                   obstacles can often be resolved simply by recognizing them
                                   in one’s daily behavior.




    Disclaimer



                                                                                            PX1-124
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90% success rate - Mini Gastric Bypass Alternative - NO surgery - $480   Page 3 of 3
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    *Results may vary
    In compliance with FDA regulations, the site (or the procedure and the products) are not intended to provide medical advice,
    diagnosis or treatment and not intended to diagnose, treat, cure, or prevent any disease and have not been evaluated or
    tested by the Food and Drug Administration and none of the statements should be viewed as such. Consult your doctor
    before beginning any weight loss program. Weight loss results may vary depending upon individual characteristics and use.
    Before purchasing you should review Instructions, Suggested Use, Side Effects, Terms and Conditions.

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                                                                                                                      PX1-125
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                 A dose of the Formula mixed in water and taken in the morning
                    creates a fast mini mini gastric bypass effect... read more




    Ask the Doctor
        Basic Questions
                                         Roca Labs Nutraceuticals
        Medical Information                    Medical Director, Dr. Ross F.
          Medical Evidence
                                   I have reviewed thousands of formal inquiries from the public
   for Success           Is it
                                   that request to begin using the Roca Labs Formula for
   safe to lose weight while
                                   weight loss. Our evaluation process follows strict guidelines
   breastfeeding?            Are
                                   to maintain the high company standards and insure safety
   there any side effects?
         How much weight           and efficacy that our product holds. Potential clients

   should I lose while             complete a 72 point application form to make sure the

   pregnant?         Where         Formula is right for them. Individuals with certain medical

   does the extra weight go        conditions, that are not appropriate for use with Roca Labs

   during pregnancy?               Formula, are carefully excluded. I review each case

        Research                   individually for medical accuracy. I have been the medical

        Comparison                 director at Roca Labs for the past year. I was in clinical
        Qualify & Order            medical practice for 10 years before moving into
                                   pharmaceutical management. I have been involved in the
                                   development and ongoing monitoring of the Roca Labs
                                   Formula. I work directly with the staff and customers to
                                   maintain the highest levels of medical accuracy and safety.




                                                                                            PX1-127
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                                   Overall, I have reviewed thousands of inquiries requesting
                                   the Formula and the Roca Labs guidelines ensure the safest
                                   use for all customers using this Formula. In, addition the
                                   preparation of the Formula exceeds all FDA requirements to
                                   insure purity and safety in the preparation of the Formula.

                                   My research has not found any other weight loss that has
                                   the efficacy, or biological potential, to help those with obesity
                                   lose weight. This is why we can make the statement that “the




                                   reduction in cravings for snacks. Therefore, the clients
                                   calorie intake is reduced significantly. Most report a 50%
                                   reduction in the amount of food they eat. Those that exercise
                                   daily, experience even faster weight loss.

                                   The Roca Labs Formula contains the appetite suppressing
                                   effects of Konjac glucomannan, the glucose homeostasis
                                   action of Beta-glucan and the dietary fibers that bind and
                                   occupy 80% of the stomach for up to 16 hours. The Roca
                                   Labs Formula has up to 42 times more active ingredient as
                                   some marketed diet pills. This is accomplished while
                                   maintaining incredibly low side effects levels. Less than 1%
                                   of customers report even moderate side effects. The Roca
                                   Labs staff provides reponses 24 hours a day for those who
                                   have any concerns regarding the Formula. This is why Roca
                                   Labs continues to have a persistently high satisfaction level
                                   and many return customers.

                                   The effectiveness of the Roca Labs Formula provides the
                                   strongest force in spreading the word to others with obesity.
                                   Most clients learn about the effective weight loss of results
                                   from current Roca Labs customers. Frequently during my



                                                                                           PX1-128
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                                   review of customer inquiries, clients report learning about
                                   the impressive amount of weight others have experienced
                                   using the Roca Labs Formula. I have used the Formula
                                   myself, as well as many of my colleagues, and have found it
                                   to suppress our appetites and reduce cravings, resulting in
                                   weight loss.

                                   Third party support




                                   additional health benefits. Please review and let me know if
                                   you have any questions.

                                   The ROCA LABS® Formula is a mixture of natural
                                   ingredients that have been shown in multiple medical studies
                                   to provide euglycemic control, early and prolonged satiety
                                   and reduced desire to consume food in-between meals.
                                   Although the ingredients are available separately, it is the
                                   proprietary combination that provides the greatest benefit.

                                   The active ingredients are β-Glucan and konjac
                                   glucomannan. These compounds are added to Xanthan and
                                   Gaur gum, that absorb water and slow the transition and
                                   absorption of the ROCA LABS® Formula ingredients and
                                   food contents. This slow GI transit time allows for a
                                   systematically controlled absorption of the active ingredients
                                   and the food consumed, resulting in a more even absorption
                                   of carbohydrates and a reduction of the rapid rise of blood
                                   glucose levels typically occurring after meals.




                                                                                           PX1-129
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                                   The health benefits of β-Glucan have been established in
                                   many papers in peer-reviewed journals. β-Glucans are a
                                   group of non-starch polysaccharides, consisting of
                                   D-glucose monomers linked by β-glycosidic bonds. Among
                                   soluble fibers, β-glucan is the most frequently consumed and
                                   is associated with reduced presence of insulin resistance,
                                   dyslipidemia, hypertension and obesity.

                                   β-Glucan has been reported to have positive effects in




                                   and hypercholesterolemic patients 1
                                   review of this information and more see, Beta Glucan:
                                   Health Benefits in Obesity and Metabolic Syndrome in the
                                   Journal of Nutrition and Metabolism 2.

                                   The most comprehensive research paper to evaluate the
                                   benefits of β-Glucan was in the January 2006 edition of the
                                   American Diabetes Association’s medical journal,
                                   DiabetesCare. The publication is titled “Consumption of Both
                                   Resistant Starch and β-Glucan Improves Postprandial
                                   Plasma Glucose and Insulin in Women.” The
                                   study 3 demonstrated that the consumption of β-Glucan can
                                   improve (lower) the glucose and insulin responses of both
                                   normal and overweight women. The authors concluded that
                                   β-Glucan is effective in the controlling glucose responses in
                                   both normal and insulin-resistant subjects 4. The effect of
                                   β-Glucan in maintaining healthy blood glucose levels in
                                   those with Type 2 diabetes has been verified in several
                                   studies 5, 6.




                                                                                         PX1-130
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                                   Studies have proven that the rise in postprandial blood
                                   glucose and insulin levels was reduced when meals were
                                   consumed with β-Glucan or Guar gum5. The reduction in
                                   peak glucose levels results from a more gradual absorption
                                   of nutrients because of the increase in viscosity of the
                                   contents of the stomach and small intestine 7. A large
                                   percentage of the Guar gum remains in the stomach for a
                                   prolonged period of time, and then gradually moves through




                                   absorbed more gradually 8
                                   in and absorbed 6.

                                   In addition to the weight management benefits β-glucans
                                   were found to be an effective polysaccharide
                                   immunostimulant against infectious diseases and cancer 9.
                                    β-glucans are currently being utilized, as adjuncts in
                                   chemotherapy to aid in the prevention of infections in those
                                   that are immunocompromised 10-12.

                                   Konjac glucomannan is derived from a tuber of Oriental
                                   origin. Several medical publications have reported its effects
                                   on lessening the rise in blood glucose levels after
                                   meals 13 and lowering blood cholesterol levels in both
                                   healthy and hypercholesterolemic adults 14, 15. In addition,
                                   konjac was shown to be effective in significantly improving
                                   cholesterol and blood glucose levels with diabetes and
                                   insulin-resistant syndromes 16, 17. In a double blind,
                                   randomized study with diabetic patients, Konjac supplement
                                   improved blood lipid levels by enhancing fecal excretion of
                                   neutral sterol and bile acid and alleviated the elevated
                                   glucose levels in diabetic subjects18. The authors concluded
                                   that Konjac should be an adjunct for the treatment of
                                   hyperlipidemic diabetic subjects. Previous studies have



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                                   shown the use of supplemental Konjac resulted in a
                                   significant weight loss, reduction in total cholesterol and
                                   LDL 19, 20.

                                   The prevalence of diabetes in U.S. adults is estimated to be
                                   5.1%, and continues to be a major health problem because
                                   of the increasing frequency of obesity and sedentary
                                   lifestyles. Most medical experts believe that there is potential
                                   for the long-term management of the complications




                                   fiber viscous property with the metabolic benefits of
                                   β-Glucan and Konjac. There have been no reports medical
                                   side effects reported on these compounds.

                                   Patients using the ROCA LABS® product feel it works from
                                   day one, training the stomach to eat less, reducing the
                                   capacity of the stomach and teaching the body/brain to eat
                                   less with a higher satisfaction. This continues to be reported
                                   even as much as 3-5 months and after completing the
                                   ROCA LABS® process. The ROCA LABS® Formula is
                                   manufactured in a FDA approved facility and the ingredients
                                   have been classified by the World Health Organization
                                   (WHO) as part of a healthy diet to prevent chronic disease.

                                   Please feel free to contact me if you have any questions
                                   regarding the medical efficacy or safety of the ROCA LABS®
                                   products.

                                   Ross Finesmith MD
                                   Roca Labs Nutraceuticals



                                                                        References



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    diagnosis or treatment and not intended to diagnose, treat, cure, or prevent any disease and have not been evaluated or



                                                                                                                      PX1-134
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    tested by the Food and Drug Administration and none of the statements should be viewed as such. Consult your doctor
    before beginning any weight loss program. Weight loss results may vary depending upon individual characteristics and use.
    Before purchasing you should review Instructions, Suggested Use, Side Effects, Terms and Conditions.

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                                                                                                                    PX1-135
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